Case 2:05-CV-02182-BBD-tmp Document 14 Filed 06/30/05 Page 1 of 2 Pag |D 14

 

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ROBERT S. BURCH, - U.S. D§;IF§CTCO\M
wm 05 tit MP+§S
P|aintiff
Counter-Defendant,
vs. Civil Action No. 05-2182-D P

G|LL|AM COMMUN|CATIONS, lNC.,
WLOK RADIO, lNC. and
H.A. G|LL|AM, JR.,

Defendants
Counter-P|aintiffs.

 

ORDER EXTENDING TIME FOR DEFENDANTS TO
RESPOND TO PLAINTIFF’S MOTION TO DISMISS COUNTERCLAIM

 

This matter is before the CouIt on Defendants’ Unopposed Motion for Extension Of Time
ln Which To Respond To Plaintiff’ s Motion to Dismiss Counterclairn. For good cause shown and
pursuant to Federal Rule of Civil Procedure 6(b), the Court hereby GRANTS the motion and
EXTENDS the time for Defendants to respond to Plaintiff` s Motion to Dismiss Counterclaim until
.`fuly ]4, 2005.

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This notice confirms a copy of the document docketed as number 14 in
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ESSEE

 

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Honcrable Bernice Donald
US DISTRICT COURT

